                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  COLUMBIA DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      CASE NO. 1-11-00010
                                                     )      JUDGE SHARP
ROBERT PICKLE                                        )
                                                     )


                                           ORDER


         Pending before the Court is Defendant Pickle’s Motion to Set for Plea (Docket No. 68).

         The motion is GRANTED, and a hearing on a plea of guilty is hereby scheduled for

August 13, 2012 at 2:30 p.m.

         It is so ORDERED.


                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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